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  16
                            UNITED STATES DISTRICT COURT
  17
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
  18
  19   NICHIA CORPORATION,                      Case No. 2:20-cv-00359-GW-E
                                                Hon. George H. Wu, Ctrm. 9D
  20                Plaintiff,
       v.                                       Magistrate Judge: Charles F. Eick
  21
       FEIT ELECTRIC COMPANY, INC.              STIPULATION BY FEIT
  22                                            ELECTRIC RE NICHIA
                    Defendant.                  INTERROGATORY NO. 6
  23
  24                                            Fact Disc. Cut-off: Nov. 9, 2021
                                                Expert Disc. Cut-off: Feb. 17, 2022
  25                                            Pretrial Conference: Apr. 21, 2022
  26                                            Jury Trial: T.B.D.

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   1   I.    STIPULATION
   2         On February 26, 2021, Plaintiff Nichia Corporation (“Nichia”) served its Third
   3   Set of Interrogatories (Nos. 4-6) on Feit Electric. Nichia Interrogatory No. 6
   4   requested that Feit Electric “[s]eparately for each of the Accused Products, identify
   5   the manufacturers and manufacturer’s part numbers for the LED filaments used.”
   6   See Dkt. No. 112-31. Feit Electric served its original responses on March 29, 2021.1
   7   Id. Pursuant to this Court’s May 17, 2021 Order (Dkt. No. 115), Feit Electric
   8   supplemented its response to Nichia Interrogatory No. 6 on June 14, 2021, and further
   9   supplemented that response on June 18, 2021.
  10         On July 22, 2021, Nichia filed a motion to enforce the Court’s May 17, 2021
  11   Order regarding, inter alia, Nichia Interrogatory No. 6. Dkt. No. 144. On August 5,
  12   2021, this Court Ordered that “[a]s to Interrogatory 6, Defendant promptly shall make
  13   reasonable,    good     faith   efforts,   including    inquiries    of    Defendant’s
  14   suppliers/manufacturers, to attempt to obtain additional responsive information. On
  15   or before September 2, 2021, Defendant shall disclose to Plaintiff any additional
  16   responsive information thereby obtained.” Dkt. No. 185.
  17         On August 19, 2021, Feit Electric moved for Partial Review of the Court’s
  18   August 5, 2021 Order as it pertained to Interrogatory No. 6. See Dkt. No. 193. The
  19   Court held a hearing on that motion on September 16, 2021. See Dkt. No. 216. At
  20   that hearing, counsel for Nichia offered a compromise that “[i]f Feit wouldn’t use
  21   information on LED filaments, as a sword later, for purposes of showing
  22   noninfringement or non-representativeness, then we didn’t necessarily need the
  23   information to have it as a shield.” Dkt. No. 219, 9/16/21 Hearing Tr. at 8:20-23.
  24   Based on the Court’s suggestion that the parties attempt to resolve the matter through
  25   such a compromise, see id. at 9:19-22, the parties first met and conferred on this issue
  26
  27   1 Feit Electric does not manufacture the accused products, rather they are purchased
       from a selection of suppliers, typically overseas, such that Feit Electric does not
  28   have this information in its possession, custody, or control.
                                                  1
                        STIPULATION RE NICHIA INTERROGATORY NO. 6
                                                                                 20-cv-00359
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   1   on September 20, 2021, and have been working through email correspondence and
   2   additional telephone conversations to attempt to reach agreement. The parties were
   3   unable to reach agreement; however, to address the specific concerns stated by Nichia
   4   to the Court, Feit Electric hereby stipulates as follows:
   5         Unless the corresponding filament information was produced by Feit
   6   Electric (or any other party) in discovery, Feit Electric will not contest Nichia’s
   7   showing of representativeness or allege non-infringement as it relates to an
   8   Accused Product model based only on the identity of the filament manufacturer
   9   or filament model number used in that Accused Product model.
  10         This stipulation is made without prejudice to any other argument regarding
  11   representativeness or infringement, or the lack thereof as to either, by Feit Electric,
  12   and Feit Electric further reserves all rights. Specifically, through this stipulation, Feit
  13   Electric does not take on the burden where the burden otherwise rests with Nichia
  14   including the burden to establish that two filaments of the same model have the same
  15   properties as it relates to the asserted claims, or any other legal burden that rests with
  16   Nichia.
  17 DATED: October 29, 2021              BENESCH, FRIEDLANDER, COPLAN &
                                          ARONOFF LLP
  18
                                          By: /s/ Kal K. Shah
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                                              Kal K. Shah (pro hac vice)
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                                              Katherine A. Smith (pro hac vice)
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  23
       DATED: October 29, 2021            STRADLING YOCCA CARLSON & RAUTH PC
  24
                                          By: /s/ Salil Bali
  25
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  28                                            Feit Electric Company, Inc.
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                         STIPULATION RE NICHIA INTERROGATORY NO. 6
                                                                                    20-cv-00359
